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                    IN TilE UNITED STATES DISTRICT COURT
                        FOR TilE DISTRICT OF MARYLAND                                         -      [.." \"
                                 Northern Division                  ...
                                                                    ,.    .
                                                                          ,-   " ... '   •... -..1   \   ••   v




                                                                               c, \                  I ••
YADIM A. MEDISII
5037 Eskridge Terrace, N.W.
Washington, D.C. 20016

and

MARK C. i\IEDISH, Individually and as                   JKB 17 CV1448
Parent and Legal Guardian of Yadim A.   CASE NO.
Medish
                                                   -----------
5037 Eskridge Terrace, N.W.
Washington, D.C. 20016

and
                                        Removed ji-om the Circuit Court for Baltimore
SUE EDWARDS, Individually     and as    City. Case No. 24-C-17-002945
Parent of Yadim A. Medish
5037 Eskridge Terrace, N.W.
Washington, D.C. 20016

      Plaintiffs,

v.

THE JOIINS HOPKINS HEALTH
SYSTEM CORPORA nON T/A
JOHNS HOPKINS MEDICINE
601 North Broadway
Baltimore, Maryland 21205

SERYE ON: Resident Agent
          Joanne E. Pollack, Esquire
          600 North Wolfe Street
          Administration Bldg., 414
          Baltimore, Maryland 21205

and

THE JOHNS HOPKINS HOSPITAL T/A
THE .IOHNS HOPKINS HOSPITAL, INC.,
601 North Broadway
Baltimore, Maryland 21205
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SERVE ON: Resident Agent
          Joanne E. Pollaek, Esquire
          600 North Wolfe Street
          Administration Bldg., 414
          Baltimore, Maryland 21205

and

SUBASH CHANDRA, M.D.
2253 Dempster Drive
Coralville, fA 52241

           Defendants.


                                      NOTICE OF REMOVAL

           Under 28 U.S.C.   SS   1332, 1441, and 1446, Defendant Suhash Chandra, M.D. removes

the action captioned Medish v. The Johns Hopkins Health System Corp., Case No. 24-C-17-

002945 from the Circuit Court for Baltimore City, Maryland.

                          ST ATEi\IENT    OF GROUNDS FOR REMOVAL

      I.        Background

           I.      On May 23, 2017, Plaintiffs Vadim A. Medish and Mark C. Medish, individually

and as Vadim's legal guardian, filed their Complaint in the Circuit Court for Baltimore City,

Maryland. (See Ex. A, Complaint.)

           2.      Plaintiffs claim that The Johns Hopkins Health System, Corp., T/A Johns Hopkins

Medicine, and The Johns Hopkins Hospital, T/A The Johns Hopkins Hospital Inc., ("the Johns

Hopkins Defendants"), and Defendant Dr. Chandra ("Removing Defendant") were negligent in

providing health care to PlaintiffVadim     A. Medish during a months-long hospitalization in 2013

for "anti-Ma2 paraneoplastic encephalitis secondary to mediastinal seminoma:'        Compl.   'I~
                                                                                                22

They further allege that, as a result of Defendants'      negligence, Vadim A. Medish "suffered




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penn anent and extensive physical, cognitive and emotional injuries and other damages:'            Id. ~

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II.     Jurisdictional   Basis for Removal

        A.        The Court has diversity jurisdiction      over this action.

        3.       Under 28 U.S.c.   9   1332, the United States District Court has jurisdiction over this

action because it is between citizens of different states and the amount in controversy is greater

than 575,000, exclusive of interest and costs. Thus, this action could have originally been filed

in this Court.

                 1.      Diversity of Citizenship

        4.       Plaintiffs at the time of commencement of the State Court Action are citizens of

the District of Columbia as stated in the Complaint filed in Circuit Court for Baltimore City.

        5.       Defendant Subhash Chandra, M.D. at the time of the commencement of the State

Court Action, was a subject of the Country of India and domiciled in at 2253 Dempster Drive,

Coralville, Iowa, 5224 I.

        6.       The Johns Hopkins Defendants are incorporated in Maryland, with their principal

places of business in Baltimore, Maryland. They are citizens of Maryland.

                         11.    Amount in Controversy

        7.       Based on Plaintiffs'    allegations that Yadim Medish "suffered pennanent          and

extensive physical, cognitive and emotional injuries and other damages" and "has suffered,

continues to suffer, and will in the future suffer significant and severe physical pam and

suffering, neurologic and cognitive damages, discomfort, mental anguish, loss of enjoyment of

life, and other damages," the Complaint seeks damages that exceed 575,000.




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III.     Procedural Requirements for Removal

         8.        Neither the Removing Defendant nor any of the Johns Hopkins Defendants have

been served at the time of removal.      Upon information and belief, no summons has been issued

for Removing Defendant or any of the Johns Hopkins Defendants.                  (See Ex. B, Case Infonnation

Report from Maryland Judiciary Case Search.)           Accordingly, no additional consent is requircd

and this Notice of Removal is timely under 28 U.S.c.            S   I446(b). See Robertson v. IlIliano, Civ.

No. RDB 10-1319,2011         WL 453618 (D. Md. Feb. 4, 201 I) (holding that the forum-defendant

rule does not apply when the forum defendant has not been served); AI-Ameri                I'.   Johns Hopkins

Hospital, Case No. 15-cv-1163.GLR         (D. Md. Jun. 24, 2015), ECF No. 23 (denying motion to

remand medical-malpractice      action where the forum defendant was not served before the time of

removal), attached as Exhibit C.

         9.       This action is being removed "to the district court of the United States for the

district and division embracing the place where such action is pending" under 28 U.S.c.

S   1441(a).     The Northern   Division of the United States District Court for the District of

Maryland embraces Baltimore City, Maryland. See 28 U.S.c.                S   100(1).

         10.       Removing Defendant is filing written notice of this removal with the Clerk of the

Circuit Court of Baltimore City under 28 U.S.C.        S   1446(d). (See Exhibit D, Notice of Filing of

Notice of Removal.)       A copy of Removing Defendant's Notice of Filing of Notice of Removal,

together with this Notice of Removal, is being served upon Plaintiffs under 28 U.S.c.               S   I446(d).

         I I.      Removing Defendant has not been served to date. As such, there are no "process,

pleadings and orders" to attach pursuant to 28 U.S.c.       S   1446.




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       WHEREFORE.       the action filed in the Circuit Court for Baltimore City, Maryland is

removed to this Court, no further proceeding shall be had in the Circuit Court for Baltimore City.




                                             Respectfully submitted,



                                             Jf:~f,:,;6~
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                                             TEL: 410-821-3500
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                                             Attorneys for Defendant,
                                             Subhash Chandra, M.D.




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                                  CERTIFICATE OF SERVICE

       I CERTIFY that on thif2--~         of May 2017, a copy of the foregoing was sent via first

class mail, postage prepaid to:

       Patrick M. Regan, Esquire                      Kelly Hughes Iverson, Esquire
       Jacqueline T. Colclough, Esquire               Goodell, DeVries, Leech & Dann, LLP
       Regan, Zambri & Long, PLLC                     One South Street
       1919 M. Street, N.W.                           20th Floor
       Suite 350                                      Baltimore, MD 21202
       Washington, D.C. 20036-3521                    Attorneys for Defendant,
                                                      The Johns Hopkins Health System
       Attorneys for Plaintiffs                       Corporation




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                                                            Neal M. Brown




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